Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 1 of 23 PageID #: 1
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 2 of 23 PageID #: 2
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 3 of 23 PageID #: 3
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 4 of 23 PageID #: 4
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 5 of 23 PageID #: 5
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 6 of 23 PageID #: 6
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 7 of 23 PageID #: 7
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 8 of 23 PageID #: 8
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 9 of 23 PageID #: 9
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 10 of 23 PageID #: 10
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 11 of 23 PageID #: 11
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 12 of 23 PageID #: 12
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 13 of 23 PageID #: 13
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 14 of 23 PageID #: 14
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 15 of 23 PageID #: 15
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 16 of 23 PageID #: 16
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 17 of 23 PageID #: 17
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 18 of 23 PageID #: 18
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 19 of 23 PageID #: 19
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 20 of 23 PageID #: 20
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 21 of 23 PageID #: 21
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 22 of 23 PageID #: 22
Case: 4:22-cv-01325-SRW Doc. #: 1 Filed: 12/12/22 Page: 23 of 23 PageID #: 23
